            Case 1:19-cv-10408-NMG Document 15 Filed 06/12/19 Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


  KEITH HOBBS, individually and on behalf
  of all others similarly situated,
                                                   Case No. 19-cv-10408-NMG
                         Plaintiff,

       v.                                          JOINT STATEMENT AND
                                                   PROPOSED PRETRIAL SCHEDULE
  COMMONWEALTH SERVICING
  GROUP, LLC, a Massachusetts limited
  liability company, and DMB FINANCIAL,
  LLC, a Massachusetts limited liability
  company,
                         Defendants.


       Plaintiff Keith Hobbs (“Plaintiff” or “Hobbs”) and Defendants Commonwealth Servicing

Group, LLC and DMB Financial LLC (“Defendants” or “Commonwealth”) jointly submit this

Joint Statement and Proposed Pretrial Schedule pursuant to the Rule 26(f) of the Federal Rules of

Civil Procedure and this Court’s May 10, 2019 Notice of Scheduling Conference (Dkt. 10).

1. Jurisdiction & Service

        This case is an alleged class action brought under the Telephone Consumer Protection

 Act, 42 U.S.C. § 227 et seq. (“TCPA” or the “Act.”). As such, the Parties agree that the Court

 has original jurisdiction under 28 U.S.C. § 1331. No issues exist as to personal jurisdiction or

 venue, and no parties remain to be served.



2. Motions

       Plaintiff’s Position Plaintiff anticipates moving for class certification following class

discovery and potentially moving for summary judgment in favor of himself and the class

members.
          Case 1:19-cv-10408-NMG Document 15 Filed 06/12/19 Page 2 of 7




         Defendants’ Position: Defendants anticipate objecting to any motion for class certification

and/or summary judgment. The Defendants also anticipate moving for summary judgment in their

favor.



3. Amendment of Pleadings

          Plaintiff’s Position: Discovery may reveal other entities or individuals personally

 involved in the making of the calls so as to warrant their inclusion as additional defendants.

 Plaintiff also anticipates the need to amend the class definition following appropriate class

 discovery regarding the contours of the class. Plaintiff’s position is that a deadline for amending

 the pleadings should be set at some point following completion of certain discovery regarding

 class related issues so as to identify any additional culpable parties and to appropriately focus

 the class definition. Plaintiff proposes October 16, 2019 as the deadline to file amended

 pleadings.

          Defendants’ Position: The Defendants have no objection to the proposed October 16,

 2019 deadline. In the event that amended pleadings are filed by the Plaintiff, the Defendants

 request 30 days thereafter to file their amended answer.



4. Evidence Preservation.

          The Parties are committed to working together to reduce the costs of ESI and ensure that

 all relevant information is preserved.




                                                                                                   2
           Case 1:19-cv-10408-NMG Document 15 Filed 06/12/19 Page 3 of 7



5. Disclosures

           The Parties will exchange initial disclosures on or before June 12, 2019.

6. Discovery

           Plaintiff’s Position: No formal discovery has yet to be issued. Plaintiff is amenable to

 negotiating a reasonable ESI stipulation if necessary. Plaintiff’s position is that discovery should

 proceed with respect to both class certification and merits issues for a period of ten (10) months.

 The first eight (8) months will be devoted to written and oral fact discovery. The final two (2)

 months of this period will be devoted to experts. At the close of this ten (10) month period, the

 Parties would brief class certification. Following a ruling on class certification the Court would

 hold a subsequent case management conference and establish a schedule for the remainder of

 the case, including a period for any remaining merits-based discovery, and dates for summary

 judgment briefing, pre-trial conferences, and the trial.

           Discovery is needed regarding certain threshold issues that will materially advance the

 case:

           (1) The ability to identify other cellphone numbers that Defendants called (or had called

 on their behalf) where the telephone numbers (and consent to call) were obtained in the same

 manner as Plaintiff’s;

           (2) The dates and times Defendants (or its vendor) called such cellphone numbers;

           (3) The identity of any vendor Defendants used to make the calls at issue;

           (4) Information identifying Defendants’ or their vendor’s dialing equipment; and

           (5) Information regarding whether all or some of the calls were in fact prerecorded in

 nature.




                                                                                                    3
         Case 1:19-cv-10408-NMG Document 15 Filed 06/12/19 Page 4 of 7



         Defendants’ Position: The Defendants have no objection to the proposed discovery

 schedule. The Defendants deny that they made the calls as alleged by the Plaintiff in his

 Complaint and this Joint Statement and Proposed Pretrial Schedule. The Defendants further

 deny that a class exists in this action.

         Discovery is needed regarding certain (including but not limited to) threshold issues:

         (1) Information identifying the manner in which the alleged calls occurred.

         (2) Information as to whether the alleged calls were answered, recorded, documented,

 and/or witnessed.

         (3) Information as to the manner in which the Defendant was identified as the company

 that allegedly made the phone calls at issue.

         (4) Information as to the other TCPA complaints filed by the Plaintiff.

7. Settlement and ADR

         The Parties will comply with the Court’s Order regarding settlement proposals.



8. Consent to Magistrate Judge For All Purposes

         All Parties do not consent to have a magistrate judge conduct all further proceedings.



9. Scheduling

         Plaintiff’s Position: As set forth above, Plaintiffs’ position is that discovery should

 proceed with respect to both class certification and merits issues for a period of ten (10) months.

 The first eight (8) months will be devoted to written and oral fact discovery. The final two (2)

 months of this period will be devoted to experts. At the close of this ten (10) month period the

 Parties would brief class certification. Dates for dispositive motions, a pretrial conference, and




                                                                                                   4
            Case 1:19-cv-10408-NMG Document 15 Filed 06/12/19 Page 5 of 7



 trial would be set at a subsequent case management conference following a decision on class

 certification. Proposed dates for this schedule are as follows:

        Designation of Experts Related to Class Certification and Reports Due: Feb. 12, 2020

        Designation of Rebuttal Experts and Reports Due:                          Mar. 13, 2020

        Fact Discovery Cut Off (class issues):                                    Apr. 13, 2020

        Plaintiff’s Motion for Class Certification Due:                           Apr. 27, 2020

        Defendant’s Opposition to Class Certification Due:                        May 18, 2020

        Plaintiff’s Reply in Support of Class Certification Due:                  June 1, 2020

        Subsequent case management conference to be set following a ruling on certification.



        Defendant’s Position: Defendants do not have any objection to the proposed discovery

 schedule.



10. Trial

        The parties anticipate a jury trial of 3-5 days.



11. Local Rule 16.1(D)(3) Certification

       The Parties affirm that each party has conferred: (a) with a view to establishing a budget

for the costs of conducting the full course—and various alternative courses—of the litigation; and

(b) to consider the resolution of the litigation through the use of alternative dispute resolution

programs such as those outlined in Local Rule 16.4.




                                                                                                  5
      Case 1:19-cv-10408-NMG Document 15 Filed 06/12/19 Page 6 of 7



Dated: June 12, 2019           /s/ Steven L. Woodrow

                               Counsel for Plaintiff



Dated: June 12, 2019           /s/ Daniel Ruggiero

                               Counsel for Defendants




                                                                      6
         Case 1:19-cv-10408-NMG Document 15 Filed 06/12/19 Page 7 of 7




                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2019, I served copies of the foregoing papers on all counsel
of record by filing such papers with the Court using the Court’s electronic filing system.




                                       s/ Steven L. Woodrow




                                                                                                    7
